        Case 3:17-cv-06779-RS Document 196-1 Filed 01/25/19 Page 1 of 2



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16 Lead Counsel for Court-Appointed Lead Plaintiff and the Class

17
                               UNITED STATES DISTRICT COURT
18
                          NORTHERN DISTRICT OF CALIFORNIA
19
                                                      Master File No. 17-cv-06779-RS
20
     IN RE TEZOS SECURITIES LITIGATION
21                                                    CLASS ACTION

22 This document relates to:                          DECLARATION OF HUNG G. TA IN
                                                      SUPPORT OF PLAINTIFFS’ MOTION
23         ALL ACTIONS.                               TO SUBSTITUTE LEAD PLAINTIFF
24
                                                      Date:    March 7, 2019
25                                                    Time:    1:30 p.m.
                                                      Crtrm:   3
26                                                    Judge:   Hon. Richard Seeborg
27

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        DECLARATION OF HUNG G. TA IN SUPPORT OF MOTION TO SUBSTITUTE LEAD PLAINTIFF
                                       3:17-CV-06779-RS
        Case 3:17-cv-06779-RS Document 196-1 Filed 01/25/19 Page 2 of 2



 1 I, HUNG G. TA, declare under penalty of perjury as follows:

 2          1.     I am the principal of the law firm Hung G. Ta, Esq. PLLC (“HGT Law”), Co-Lead
 3 Counsel in this action. I am an active member in good standing of the bar of the State of New York

 4 and have been admitted pro hac vice in this matter. I submit this declaration in support of Plaintiffs’

 5 Motion to Substitute Lead Plaintiff.

 6          2.     Attached hereto as Exhibit A is a true and correct copy of the Declaration of Arman
 7 Anvari, dated January 23, 2019.

 8          3.     Attached hereto as Exhibit B is a true and correct copy of the Declaration of Artiom
 9 Frunze, dated January 22, 2019.

10                 I declare under penalty of perjury that the foregoing is true and correct, this 25th day
11 of January, 2019.

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13                                                          /s/ Hung G. Ta
                                                            Hung G. Ta
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       DECLARATION OF HUNG G. TA IN IN SUPPORT OF MOTION TO SUBSTITUTE LEAD PLAINTIFF
                                        3:17-CV-06779-RS
